     Case 8:19-cr-00061-JVS Document 296 Filed 09/18/20 Page 1 of 16 Page ID #:4356



 1   NICOLA T. HANNA
     United States Attorney
 2   BRANDON D. FOX
     Assistant United States Attorney
 3   Chief, Criminal Division
     JULIAN L. ANDRÉ (Cal. Bar No. 251120)
 4   Assistant United States Attorney
     Major Frauds Section
 5        1100 United States Courthouse
          312 North Spring Street
 6        Los Angeles, California 90012
          Telephone: (213) 894-6683
 7        Facsimile: (213) 894-6269
          Email:     Julian.L.Andre@usdoj.gov
 8
     BRETT A. SAGEL (Cal. Bar No. 243918)
 9   Assistant United States Attorney
          Ronald Reagan Federal Building
10        411 West Fourth Street, Suite 8000
          Santa Ana, California 92701
11        Telephone: (714) 338-3598
          Facsimile: (714) 338-3708
12        Email:      Brett.Sagel@usdoj.gov

13   Attorneys for Plaintiff
     UNITED STATES OF AMERICA
14
                              UNITED STATES DISTRICT COURT
15
                        FOR THE CENTRAL DISTRICT OF CALIFORNIA
16
     UNITED STATES OF AMERICA,                 No. SA CR 19-061-JVS
17
                Plaintiff,                     GOVERNMENT’S REPLY IN SUPPORT OF
18                                             ITS MOTION TO TERMINATE AND NOT
                      v.                       FURTHER EXTEND DEFENDANT MICHAEL
19                                             JOHN AVENATTI’S TEMPORARY RELEASE;
     MICHAEL JOHN AVENATTI,                    EXHIBITS
20
                Defendant.
21

22         Plaintiff United States of America, by and through its counsel

23   of record, the United States Attorney for the Central District of

24   California and Assistant United States Attorneys Brett A. Sagel and

25   Julian L. André, hereby files its reply in support of its motion to

26   terminate and not further extend defendant MICHAEL JOHN AVENATTI’s

27   temporary release pursuant to 18 U.S.C. § 3142(i), which is currently

28   set to expire on October 6, 2020.
     Case 8:19-cr-00061-JVS Document 296 Filed 09/18/20 Page 2 of 16 Page ID #:4357



 1         The government’s motion is based upon the attached memorandum of

 2   points and authorities, the attached exhibits, the files and records

 3   in this case, and such further evidence and argument as the Court may

 4   permit.

 5    Dated: September 18, 2020            Respectfully submitted,

 6                                         NICOLA T. HANNA
                                           United States Attorney
 7
                                           BRANDON D. FOX
 8                                         Assistant United States Attorney
                                           Chief, Criminal Division
 9

10                                               /s/
                                           BRETT A. SAGEL
11                                         JULIAN L. ANDRÉ
                                           Assistant United States Attorneys
12
                                           Attorneys for Plaintiff
13                                         UNITED STATES OF AMERICA

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                              2
     Case 8:19-cr-00061-JVS Document 296 Filed 09/18/20 Page 3 of 16 Page ID #:4358



 1                                  TABLE OF CONTENTS
 2   DESCRIPTION                                                                  PAGE

 3   TABLE OF AUTHORITIES...............................................ii

 4   MEMORANDUM OF POINTS AND AUTHORITIES................................1

 5   I.    INTRODUCTION...................................................1

 6   II.   ARGUMENT.......................................................1

 7         A.    Defendant’s Violation Was Not a Misunderstanding..........1

 8         B.    The Court Has Broad Discretion to Terminate
                 Defendant’s Temporary Release.............................7
 9
           C.    Defendant’s Remaining Arguments Are Meritless............10
10
                 1.    Factual Assertions Related to the Alleged
11                     Violations..........................................10

12               2.    Defendant’s Ability to Prepare for Trial............12

13         D.    Manheimer Is An Unsuitable Third-Party Custodian.........12

14   III. CONCLUSION....................................................12

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                              i
     Case 8:19-cr-00061-JVS Document 296 Filed 09/18/20 Page 4 of 16 Page ID #:4359



 1                                TABLE OF AUTHORITIES
 2   DESCRIPTION                                                                  PAGE

 3   FEDERAL CASES
 4   United States v. Park,
          No. SA CR 18-261-JVS (C.D. Cal.)...............................3
 5
     United States v. Poon,
 6        No. SA CR 19-162-DOC (C.D. Cal.)...............................3

 7   United States v. Ramos,
          No. SA CR 19-24-DOC(C.D. Cal.).................................3
 8
     FEDERAL STATUTES
 9
     18 U.S.C. § 3142(i).............................................7, 10
10
     MISCELLANEOUS
11
     Kurt Snibee, Number of COVID patients in ICUs at OC’s lowest
12        level in 5 months, Orange County Register,
          available at
13        https://www.ocregister.com/2020/09/14/coronavirus-number-
          of-patients-in-icus-at-lowest-level-in-five-months-in-
14        orange-county-on-sept-14/......................................8

15   Workbook: COVID-19 Cases Dashboard,
          available at https://public.tableau.com/views/COVID-
16        19CasesDashboard_15931020425010/Cases?:embed=y&:showVizHome
          =no 8 .......................................................8
17

18

19

20

21

22

23

24

25

26

27

28

                                             ii
     Case 8:19-cr-00061-JVS Document 296 Filed 09/18/20 Page 5 of 16 Page ID #:4360



 1                       MEMORANDUM OF POINTS AND AUTHORITIES
 2   I.    INTRODUCTION
 3         Defendant MICHAEL JOHN AVENATTI’s opposition confirms that he

 4   cannot be trusted to comply with his temporary release conditions or

 5   be candid with this Court.       By his own admission, defendant used his

 6   third-party custodian’s computer (a device that undoubtedly “offers”

 7   access to the internet) in direct violation of his release

 8   conditions.     Simply put, defendant breached this Court’s trust and

 9   took advantage of the extraordinary relief the Court had granted him.

10         Having spent weeks denying that he used the computer and

11   providing misleading information to the Court, defendant now attempts

12   to claim that such use was not really a violation, the violation does

13   not really matter, and the violation was not actually defendant’s

14   fault.     Had defendant acknowledged that he used his custodian’s

15   computer in June 2020 when the issue first arose, this Court,

16   Pretrial Services (“PTS”), and the parties would have been able to

17   preserve valuable resources and resolve this issue promptly.             Three

18   months later, however, defendant’s excuses ring hollow.

19         This Court already revoked defendant’s bail and, in its

20   discretion, subsequently granted temporary release to defendant based

21   on the circumstances at that time.         The Court, in its discretion,

22   should now terminate defendant’s temporary release, which is no

23   longer appropriate due to defendant’s conduct and no longer necessary

24   due to the improved circumstances in Orange County.

25   II.   ARGUMENT
26         A.     Defendant’s Violation Was Not a Misunderstanding
27         Defendant maintains that “even if [he] violated the technical

28   letter of one of his bail conditions, he did so at the direction of
     Case 8:19-cr-00061-JVS Document 296 Filed 09/18/20 Page 6 of 16 Page ID #:4361



 1   his defense counsel and with a reasonable misunderstanding of exactly

 2   what was prohibited.”      (Opp. 5.)    Defendant claims that “at most” he

 3   and his counsel “made an honest mistake.”          (Id.)   These statements,

 4   however, are fundamentally inconsistent with defendant’s prior

 5   statements and claims.      Starting in at least May 2020, defendant

 6   knowingly violated his conditions of release, spent weeks providing

 7   convoluted explanations to the Court and denying the violation, and

 8   never once -- despite numerous opportunities -- told the Court that

 9   he already had used Jay Manheimer’s computer or did so at his

10   counsel’s direction.      Indeed, even in his opposition, defendant is

11   not fully candid with the Court.

12         First, on May 27, 2020, one month after this Court granted

13   defendant’s temporary release, defendant claimed his “ability to

14   prepare for trial, including motion practice” had been “severely

15   impacted” because his bail conditions prevented him from using a

16   computer.    (CR 164 at 2.)     As a result, at the June 1, 2020, status

17   conference, the Court ordered the parties to obtain a stand-alone

18   computer for defendant.       On June 5, 2020, defendant signed a

19   stipulation to modify his release conditions to permit him to use a

20   specific internet-disabled laptop, and which detailed the specific

21   measures that his attorney would undertake to ensure the computer

22   could not be used to access the internet.          (CR 173.)    Defendant

23   received the internet-disabled computer that same day.

24         If defendant, or his counsel, truly misunderstood the condition

25   and believed defendant could use Manheimer’s computer with the

26   internet temporarily turned off at his counsel’s direction, there

27   would have been no reason for the stipulation to modify his release

28   conditions.     Moreover, if defendant and his counsel believed

                                              2
     Case 8:19-cr-00061-JVS Document 296 Filed 09/18/20 Page 7 of 16 Page ID #:4362



 1   defendant could use Manheimer’s computer at defense counsel’s

 2   direction, there was no need for defendant to claim on May 27, 2020,

 3   that his bail conditions “severely impacted” his ability to work on

 4   motions.    Defendant’s opposition does not even attempt to explain

 5   these significant inconsistencies.

 6         Second, on June 7, 2020, in response to the government’s

 7   allegation that defendant may have violated his release conditions by

 8   using Manheimer’s computer to work on several recent filings (CR

 9   177), defendant neither admitted nor denied using Manheimer’s

10   computer, and instead merely stated that he had “not accessed the

11   internet using any computer or electronic devices.”            (CR 179.)

12   Defendant then offered a convoluted theoretical explanation,

13   purportedly consistent with his bail conditions, about how Manheimer

14   could have assisted defense counsel in finalizing those pleadings

15   without defendant actually using Manheimer’s computer and violating

16   his temporary release conditions.        (CR 179 at 1-2.)1

17         At a status conference the next day, June 8, 2020, the Court

18   reiterated that the “restriction is not that [defendant] couldn’t use

19   the internet, but that he was not to have access to devices that

20   would permit him to use the internet.”         (6/8/2020 RT 10:6-19; CR

21

22
          1 Defendant also claimed that was it “necessary” for Manheimer

23   to print the final pdfs, because of defense counsel’s limitations
     from home and limited travel into the office due to COVID-19. (CR
24   179 at 2; see also CR 271 Decl. ¶ 10 (explaining why defense counsel
     “needed” Manheimer to create PDFs).) Yet, in other cases in which
25   defendant’s counsel is the attorney of record, the metadata for
     filings during this same time period shows that counsel had no
26   problem printing pleadings to PDF and filing the documents himself.
     See, e.g., United States v. Park, No. SA CR 18-261-JVS, Doc. 53
27   (filed on 5/8/20), Doc. 58 (filed on 5/29/20); United States v. Poon,
     No. SA CR 19-162-DOC, Doc. 38 (filed on 5/11/20); United States v.
28   Ramos, No. SA CR 19-24-DOC, Doc. 122 (filed on 6/16/20).

                                              3
     Case 8:19-cr-00061-JVS Document 296 Filed 09/18/20 Page 8 of 16 Page ID #:4363



 1   180.)2      In response, defendant’s counsel told the Court that he

 2   “spoke with Mr. Manheimer last night, and he assured me that

 3   Mr. Avenatti has not had access to a device with internet

 4   capabilities.”      (Id. at 11:15-22 (emphasis added).)

 5           At another status conference relating to the privilege issue on

 6   June 11, 2020, the Court asked defendant to explain the “mechanics”

 7   of how defendant and his counsel transmitted documents.            (6/11/2020

 8   RT 4:11-5:10.)      Counsel explained that he would send a document to

 9   Manheimer, who would print it and deliver it to defendant.             (Id.)

10   Defendant would then handwrite edits and give them to Manheimer, who

11   would send the edits back to counsel via a scanned PDF or an email.

12   (Id.)       Both in defendant’s June 7, 2020, opposition (CR 179) and at

13   the June 11, 2020, status conference, defendant described the

14   purported process in detail that his conditions of release would

15   permit (CR 154 at 8, ¶ 13), but never disclosed that defendant had

16   used Manheimer’s computer as part of that process or argued that he

17   believed such use would be proper (id. ¶¶ 12-13).           If defendant and

18   his counsel truly believed it was proper for defendant to use

19   Manheimer’s computer, one would expect them to have immediately

20   raised that issue with the Court.

21           Third, the government repeatedly suggested defendant could

22   resolve this entire issue without wasting the Court’s, PTS’s, or

23

24
             2
            Defendant’s opposition repeatedly references this Court’s
25   statements from its August 11, 2020, privilege ruling regarding the
     PTS Report. (Opp. 3, 9, 10, 14, 18.) Defendant, however, does not
26   once reference this Court’s June 8, 2020, description of the release
     condition or, more importantly, counsel’s response. Defendant’s
27   opposition also focuses on the government’s proposed condition prior
     to defendant’s release (Opp. 8-9), which is irrelevant. The release
28   condition this Court ordered, and to which defendant agreed, is all
     that matters here. (CR 154.)
                                        4
     Case 8:19-cr-00061-JVS Document 296 Filed 09/18/20 Page 9 of 16 Page ID #:4364



 1   anyone’s time, by submitting to the Court in camera the relevant

 2   correspondence, including the initial drafts of any pleading that

 3   were sent from counsel to defendant, as well as proof that defense

 4   counsel had done the legal research in the filings.            (CR 186;

 5   6/11/2020 RT 6:25-7:6.)       Defendant never did so.

 6         Even now, defendant continues to hide the ball.           Defendant’s

 7   opposition and the accompanying declaration by counsel provide only

 8   generic details about the purported process defendant, defendant’s

 9   counsel, and Manheimer took in relation to filings created on

10   Manheimer’s computer.3      Notably, however, defendant fails to provide

11   to the Court, in camera or otherwise, the “other” emails and “drafts”

12   of the pleadings that defendant claims existed.           If defendant could

13   prove that his counsel drafted the six pleadings that listed

14   Manheimer as “author” (as defendant repeatedly claimed in June),

15   defendant could and should have provided such evidence to the Court.

16   But he has not done so.       And based on three months of defendant’s

17   misleading and incomplete statements regarding what happened, the

18   Court, unfortunately, should not just simply take defendant’s or his

19   counsel’s word for it.

20         Finally, defendant’s opposition fails to address the numerous

21   issues the government raised to demonstrate that defendant knew using

22   Manheimer’s computer was a violation of release conditions.             For

23   example, if defendant believed what he did was not a violation, or at

24   worst was a only a misunderstanding, why did defendant change the

25   manner in which he filed pleadings -- he immediately started printing

26

27         3After repeatedly objecting to the government asking Manheimer
     any questions about this process, and objecting to the government
28   obtaining information from the PTS Report regarding the process,
     defendant again wants to provide his “version” of events.
                                        5
     Case 8:19-cr-00061-JVS Document 296 Filed 09/18/20 Page 10 of 16 Page ID #:4365



 1    and scanning the documents before filing, thus concealing the author

 2    of the document from the metadata -- after the government raised the

 3    issue with the Court?      (CR 262 at 19.)

 4          If defendant, his counsel, and Manheimer thought it was

 5    acceptable for defendant to use Manheimer’s computer to work on

 6    pleadings, why did defendant “only do so one or two times?”

 7    Defendant could have done so for each of the six pleadings.            (CR 164,

 8    165, 167, 172, 174, 178.)       Why does defendant continue to describe at

 9    length Manheimer’s taking dictation, editing documents, printing

10    documents to pdf’s for defendant and his counsel?           If defendant and

11    his counsel honestly believed defendant could use Manheimer’s

12    computer at defense counsel’s direction with the internet simply

13    turned off, then there would have been no need for Manheimer to do

14    any of those things.      If defendant’s use of the computer was simply a

15    mistake and/or at his counsel’s direction, there was no reason

16    defendant could not have immediately offered a simple acknowledgment

17    and apology, rather than the half-hearted version defendant provided

18    for the first time in his opposition filed on September 11, 2020.4

19          The answers are simple and lead to one conclusion: defendant

20    knowingly violated his conditions and denied it for as long as he

21    could to avoid responsibility for his actions.          Defendant wants the

22    Court to appreciate that he “has skills and knowledge as a 20-year

23    attorney” (Opp. 14), but expects the Court to believe after three

24    months of denials and carefully worded descriptions, that his

25

26
           4 The fact that defendant has to resort to semantics and word-

27    play in an attempt to claim his violation was not really a violation
      (Opp. 16-18) further demonstrates that there was never really any
28    confusion about his release conditions.

                                              6
     Case 8:19-cr-00061-JVS Document 296 Filed 09/18/20 Page 11 of 16 Page ID #:4366



 1    violation was simply a “reasonable misunderstanding” or an “honest

 2    mistake.”5    Defendant cannot have it both ways.        At no point during

 3    the numerous status conferences and pleadings defendant filed prior

 4    to now, did defendant or his counsel ever state that defendant used

 5    Manheimer’s computer, defendant did so at counsel’s direction, or

 6    that there was confusion regarding the condition.           Defendant’s

 7    violation was knowing and deliberate, and he has tried to avoid the

 8    consequences of such violation ever since.

 9          B.     The Court Has Broad Discretion to Terminate Defendant’s
                   Temporary Release
10

11          On March 27, 2020, this Court found that it had authority to

12    grant defendant temporary release from custody pursuant to 18 U.S.C.

13    § 3142(i) due to “the COVID-19 virus and its effects in greater New

14    York City.”    (CR 128.)    This Court further stated it “has not lost

15    sight and neither should the parties of this Court’s finding, and the

16    Ninth Circuit’s affirmance, that Avenatti is a danger to the

17    community.”    (Id.; see also CR 140 ¶ 26.)       Defendant, however, has

18    lost sight that his bail was already revoked and that his release is

19    in fact temporary.6

20          First, just as the Court had discretion to grant and extend

21    defendant’s temporary release under Section 3142(i), it has

22    discretion to terminate or not further extend defendant’s temporary

23    release.     Although defendant’s violation is clear, and now admitted,

24    the Court need not even find such a violation.          Based on the totality

25
           5 Defendant repeatedly claims if he violated, it was only “one
26    or two occasions, over three months ago.” (Opp. 1, 15); however, the
      government raised the issue contemporaneously, while defendant has
27    sought to delay the resolution of this matter for months.
28         6 Defendant’s claim about the government’s motivation (Opp. 1)
      has no basis and is utterly without merit.
                                         7
     Case 8:19-cr-00061-JVS Document 296 Filed 09/18/20 Page 12 of 16 Page ID #:4367



 1    of the circumstances, this Court can terminate or not further extend

 2    defendant’s temporary release based on any “changed circumstance.”

 3          Second, without any support, defendant claims “risk to Mr.

 4    Avenatti’s health were he to be remanded is also exponentially

 5    greater today than when the Court previously ordered him released on

 6    March 27.”    (Opp. 4-5.)    The facts do not support this claim, and

 7    defendant simply ignores any facts unhelpful to his argument.             As

 8    this Court has noted, the COVID-19 numbers in Orange County have

 9    gotten better, and the seven day averages have continued to fall even

10    since the government’s motion to terminate.7         The data shows that the

11    circumstances, especially in Orange County, have improved

12    dramatically from what they were in March and April.

13          Third, defendant filed multiple motions seeking his temporary

14    release due to COVID-19, and highlighted the Center for Disease

15    Controls’ (“CDC”) guidance as to individuals who may face more severe

16    risks if they contract COVID-19, as well as New York City and MCC

17    being the epicenter of the crisis.        (CR 117, 125, 129, 136.)

18    Defendant argued that, according to the CDC, his previous pneumonia

19    diagnosis placed him at a higher risk of serious illness if he

20    contracted COVID-19.      (CR 117.)    In granting defendant’s temporary

21    release, this Court stated its “finding [was] particular to

22    Avenatti’s medical history and the specific location and vicinity

23    where he [was] housed.”      (CR 128.)

24

25          7See Kurt Snibee, Number of COVID patients in ICUs at OC’s
      lowest level in 5 months, Orange County Register, available at
26    https://www.ocregister.com/2020/09/14/coronavirus-number-of-patients-
      in-icus-at-lowest-level-in-five-months-in-orange-county-on-sept-14/;
27    Workbook: COVID-19 Cases Dashboard, available at
      https://public.tableau.com/views/COVID-
28    19CasesDashboard_15931020425010/Cases?:embed=y&:showVizHome=no (last
      visited Sep. 18, 2020).
                                         8
     Case 8:19-cr-00061-JVS Document 296 Filed 09/18/20 Page 13 of 16 Page ID #:4368



 1          Yet defendant does not even address in his opposition that the

 2    CDC does not consider defendant’s claimed medical condition -- a

 3    previous bout of pneumonia -- to be a higher risk or potentially

 4    higher risk for severe illness if defendant contracts COVID-19.               (CR

 5    262 at 24.)    Rather, defendant appears to change course and provides

 6    a declaration from a doctor who has never met or examined defendant.

 7    Nearly all of the doctor’s declaration, as well as defendant’s motion

 8    addressing COVID-19 in prisons, is not specific to defendant and

 9    would apply generally to all prisoners.         The doctor does speculate

10    that defendant may have -- or have had -- hypertension.8            Absent,

11    however, from the declaration is any evidence that defendant has ever

12    been diagnosed with hypertension or been prescribed medication for

13    hypertension.9    This Court must make an individualized determination

14    as to whether temporary release is still necessary or appropriate.

15    At this time, there is nothing to show that defendant is any more

16    susceptible to COVID-19 than any other 49-year-old.

17          Fourth, defendant takes issue with the facts relating to Santa

18    Ana Jail (“SAJ”) and the Metropolitan Detention Center in Los Angeles

19    (“MDC”) in the government’s motion.        (Opp. 22-23.)     The Court must

20    evaluate the risk defendant would face at the specific location he

21    would be housed.     What has happened at other facilities at other

22    times is irrelevant.      The Court only needs to decide whether

23    defendant’s purported medical condition(s) is/are a basis to justify

24

25         8 Under current CDC guidance, hypertension would not place
      defendant in the categories of individuals who “are at an increased
26    risk,” but instead would place him in the category of individuals who
      “might be at an increased risk.”
27
           9 The doctor’s declaration states that he relied upon, among
28    other things, defendant’s medical records and defendant’s statements,
      but does not disclose what statements or records defendant provided.
                                         9
     Case 8:19-cr-00061-JVS Document 296 Filed 09/18/20 Page 14 of 16 Page ID #:4369



 1    continued relief under Section 3142(i) and if SAJ or MDC can properly

 2    handle any potential risks that may exist.          This Court has five

 3    months of proof that both SAJ and MDC have implemented proper

 4    protocols to address such risks and can, in fact, appropriately

 5    handle them.

 6          In essence, defendant’s opposition seeks to turn his temporary

 7    release into permanent bail with hyperbolic and generalized

 8    statements.      This Court must determine, in its discretion, whether

 9    the present situation, in conjunction with -- or independent of --

10    defendant’s violation of his conditions of release, justifies

11    continuing the extraordinary relief this Court granted defendant

12    under Section 3142(i).      The Court should decline to extend such

13    extraordinary relief.

14          C.    Defendant’s Remaining Arguments Are Meritless10
15                1.     Factual Assertions Related to the Alleged Violations

16          As anticipated, without any basis, defendant argues that the

17    government is trying to prevent him from assisting with his defense.

18    (Opp. 14-15.)     Defendant can obviously assist in his defense, but he

19    cannot claim his need to “assist in his defense” justifies violating

20    his conditions of release or misleading the Court.           If defendant felt

21    his release conditions were preventing him from effectively assisting

22    with his defense, he could have asked the Court to modify his release

23

24
            10
             Defendant’s opposition raises countless claims that are not
25    factually supported, are irrelevant, and/or are simply intended to
      distract from the issues this Court must decide. For example,
26    defendant makes completely false and unsupported allegations about
      his arrest on January 14, 2020. (Opp. 6-7; see Ex. 1.) And
27    defendant’s assertions regarding his debt to Ms. Carlin were raised
      at the January 15, 2020, hearing and properly rejected by the Court
28    at that time -- and rejected by a Superior Court Judge. (See, e.g.,
      1/15/2020 RT 9:17-10:6; Ex. 2.)
                                        10
     Case 8:19-cr-00061-JVS Document 296 Filed 09/18/20 Page 15 of 16 Page ID #:4370



 1    conditions.    Instead, defendant violated his conditions of release

 2    and repeatedly misled this Court about his actions -- and continues

 3    to do so in his opposition.

 4          Defendant’s opposition also suggests that defendant only

 5    “briefly” used Manheimer’s computer “for one or two urgent tasks”

 6    because it was Manheimer’s only computer that Manheimer needed to

 7    “use[] to work from home as a writer.”         (Opp. 20, see also Opp. 25

 8    (“Manheimer works from home”).)        First, Manheimer testified that he

 9    was not currently working and had not been “employed in any way”

10    since April 24, 2020. (CR 200-1 at 28:5-9.)          Next, defense counsel’s

11    declaration details the numerous tasks Manheimer undertook -- nearly

12    all using his computer -- to assist defendant’s counsel in numerous

13    cases, “devot[ing] hours almost every day to these tasks” since

14    defendant’s release on April 24, 2020.         (CR 271, Decl. ¶¶ 9-10

15    (emphasis in declaration).)       If defendant thought he could use

16    Manheimer’s computer to work on defendant’s case, there would have

17    been no need for Manheimer to devote numerous hours each day for

18    defendant’s legal work -- defendant could have done it himself.

19    Moreover, in the May 27, 2020 status report, defendant did not say he

20    needed a computer because Manheimer was using his computer for his

21    own work; defendant said his bail conditions prohibited him from

22    using a computer.     (CR 164 1-2.)

23          Defendant also maintains that because he has complied with all

24    of his other conditions of release and PTS did not recommend

25    violating defendant, the Court should not terminate his release.

26    These facts provide no support for defendant.          Defendant is required

27    to comply with all of his conditions of release, not most of them,

28    and many of defendant’s conditions rely on defendant to self-report

                                             11
     Case 8:19-cr-00061-JVS Document 296 Filed 09/18/20 Page 16 of 16 Page ID #:4371



 1    information.      And, at the time PTS issued its Report, they did not

 2    have Manheimer’s testimony, including his specific statements that

 3    defendant used Manheimer’s computer.

 4                 2.    Defendant’s Ability to Prepare for Trial

 5          Defendant argues that terminating his temporary release would

 6    further delay the trial.      Defendant’s counsel is very experienced and

 7    just recently sought to have the Court appoint him pursuant to the

 8    Criminal Justice Act.      Defendant sought this appointment knowing full

 9    well that defendant’s current release was temporary and trial was set

10    for December 8, 2020.      There is simply no reason defendant and his

11    chosen counsel cannot prepare for trial while defendant is in

12    custody.    This happens all the time, and defendant’s counsel has

13    considerable experience with those arrangements.

14          D.     Manheimer Is An Unsuitable Third-Party Custodian
15          If this Court were to allow defendant to remain on temporary

16    release, this Court should review Manheimer’s testimony to determine

17    whether he is a suitable third-party custodian.          (CR 200-1.)     The

18    testimony calls into question Manheimer’s credibility, given that his

19    vague and evasive answers appear to be an attempt to help his

20    childhood friend, and whether the Court can trust Manheimer to serve

21    as defendant’s third-party custodian.

22    III. CONCLUSION
23          For the foregoing reasons, the government requests that the

24    Court terminate or decline to extend defendant’s temporary release,

25    or, alternatively, require defendant to obtain a new third-party

26    custodian.

27

28

                                             12
